                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,
                                                    Case No. 19-cr-105-pp
      v.

KEVIN JOHNSON,

                    Defendant.


  ORDER OVERRULING DEFENDANT’S OBJECTION TO REPORT AND
RECOMMENDATION (DKT. NO. 46), ADOPTING JUDGE DUFFIN’S REPORT
  AND REOMMENDATION (DKT. NO. 45) AND DENYING DEFENDANT’S
 MOTION TO SUPPRESS EVIDENCE–UNLAWFUL SEARCH AND SEIZURE
                        (DKT. NO. 39)


      On June 4, 2019, a grand jury returned a three-count indictment

charging defendant Kevin Johnson with (1) possessing crack cocaine, heroin

and marijuana with intent to deliver; (2) possessing a firearm after having been

convicted of a felony; and (3) possessing a firearm in furtherance of a drug

trafficking offense. Dkt. No. 1. The defendant filed a motion to suppress all the

evidence acquired from the search incident to arrest, asserting that officers had

neither reasonable suspicion to stop him nor probable cause to arrest him.

Dkt. No. 39 at 1. Magistrate Judge William E. Duffin concluded that the

officers relied on a sufficiently corroborated tip to initiate a Terry stop and that

the defendant’s obstruction supported an arrest and incidental search. Dkt.

No. 45 at 8, 11. He issued a report recommending that this court deny the

motion to suppress. Id. at 11. The defendant timely objected. Dkt. No. 46. The

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court overrules the defendant’s objections and adopts Judge Duffin’s

recommendation.

I.    Standard

      Rule 59(b) governs a district court’s referral of motions to suppress to

magistrate judges. Fed. R. Crim. P. 59(b). Parties have fourteen days to file

“specific written objections” to a magistrate judge’s report and recommendation

on a motion to suppress. Fed. R. Crim P. 59(b)(2). When reviewing a magistrate

judge’s recommendation, the district judge must review de novo the portions of

the magistrate judge’s recommendations to which a party timely objects. 28

U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(2), (3). The court can “accept, reject,

or modify, in whole or in part, the findings or recommendations made by the

magistrate.” 28 U.S.C. § 636(b)(1).

II.   Background

      A.      Factual Background

      Judge Duffin drew the facts in his report and recommendation from the

parties’ briefs and accompanying exhibits. Dkt. No. 45 at 2. As he recounted:

      On February 5, 2019, at 11:43 A.M., a caller reported an armed
      robbery that had just occurred at the intersection of S. 10th Street
      and W. Orchard Street in Milwaukee. (ECF No. 44 at 9.) The caller
      identified himself as Robert Terry and sounded distressed. (ECF No.
      39 at 2.) He stated that he had been robbed by two black men in
      their twenties, describing one of them as wearing a red jacket and
      having a gun. (Id.) According to the Computer Automated Dispatch
      (CAD) Report, the assignment was designated “priority 1,” which
      means that someone is either in great danger or imminently in great
      danger. (ECF No. 44 at 9.)

      Officers Miguel A. Cornejo and Ronald Campos and Officers
      Matthew Diener and Michael Walker responded to the complaint at
      11:47 A.M. (four minutes after the call). (ECF No. 39 at 20.) At 11:49
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      A.M. Officers Cornejo and Campos observed Johnson, a young black
      man wearing a red jacket and walking with one hand in his jacket
      pocket. (Id. at 20, 23.) Because he had his hand in his pocket, the
      officers suspected he may have a gun. (Id.) Officer Campos ordered
      him to stop and show his hands, but Johnson kept walking. (Id.;
      ECF No. 44 at 7.) According to Johnson, after being again asked to
      stop he complied and asked if the officers were speaking to him.
      (ECF No. 44 at 7.) When they said yes, he asked why they are always
      harassing him. (Id.) Johnson states that he spoke with the officers
      but then walked away. (Id.) He alleges that when an officer tried to
      grab him he began running away. (Id.) He also dropped a plastic bag.
      (ECF No. 39 at 20.) The officers chased after Johnson and saw him
      fall into snow at 1569 S. 10th Street but get up and run into an
      alley. (Id. at 20, 23.) Officers Anna Ojdana and David Cabral had
      also responded to the area “as a saturating squad.” (Id. at 34-35.)
      They caught up to Johnson and found him sitting down with his
      hands up and jacket off. (Id. at 2.) At 11:52 A.M. (less than ten
      minutes after the initial phone call) Johnson was taken into custody
      by Officers Cabral and Ojdana. (ECF No. 44 at 10; ECF No. 39 at 2.)
      Johnson was placed in handcuffs, at which point he told officers
      that he was not armed. (ECF No. 39 at 2.) He allegedly asked the
      officers, “Why are you always harassing me?” (Id.)

      The officers conducted a search incident to arrest and found on
      Johnson’s person 2.81 grams of heroin, 10.64 grams of cocaine,
      4.92 grams of marijuana, and $394. (ECF No. 39 at 35.) A smart
      phone found in the left front pocket of Jackson’s jacket was also
      seized. (Id. at 21.) The officers went back to the snow pile where
      Johnson had slipped and recovered a handgun and another phone.
      (Id.) They also retrieved the bag that Johnson dropped when he first
      took off running, in which was a box of sandwich bags and a digital
      scale with cocaine residue. (Id.; ECF No. 41 at 3.) The person who
      reported the armed robbery disconnected with the dispatcher after
      three minutes and could not be reached again. (ECF No. 44 at 9-10.)
      The dispatcher reported trying to contact him eleven times and said
      that the phone number was listed to another individual. (Id. at 10.)

Id. at 2-4.

      B.      Parties’ Arguments

      In the motion to suppress, the defendant argued that officers lacked

reasonable suspicion for “the attempted Terry stop.” Dkt. No. 39 at 3. He stated



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that as justification for the stop, Officers Cornejo and Campos relied solely on a

profile provided through a 911 call to a police dispatcher. Id. at 5. Reasoning

that that profile initially led officers to another man in similar clothing, the

defendant argued that the profile was “clearly deficient.” Id. (citing Matthew

Diener Body Camera X83035732, February 5, 2019, at 00:36) (emphasis

omitted). The defendant emphasized that the “distressed and confused” caller

could not be reached by officers when they later attempted to follow up because

the caller provided a phone number listed to someone else. Id. at 5-6. The

defendant admitted that he “disobeyed [] officers” and fled; he contended that

his flight was irrelevant because the court’s reasonableness analysis is

“necessarily limited to the time at which the seizure occurs,” and that at that

time, he showed no “suspicious behavior” sufficient to support a seizure. Id. at

6 (citing United States v. Odum, 72 F.3d 1279, 1284 (7th Cir. 1995)). The

defendant alleged that because “the conduct of Officers Cabral and Ojdana did

not rise to the level of a custodial arrest” and because “there was no objectively

reasonable belief of danger at the time of the search,” the incidental search was

unlawful. Id. at 7.

      The defendant asserted that the officers ultimately arrested him with

neither a warrant nor probable cause. Dkt. No. 39 at 7. After arguing

extensively that his arrest was a custodial arrest as opposed to a Terry stop, id.

at 7-10, the defendant asserted that flight alone was insufficient to show either

reasonable suspicion or probable cause. Id. at 10-11 (citing United States v.

Quinn, 83 F.3d 917 (7th Cir. 1996); Illinois v. Wardlow, 528 U.S. 119 (2000);

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United States v. Baskin, 401 F.3d 788, 792 (2005); United States v. Cherry,

920 F.3d 1126, 1136 n.3 (7th Cir. 2019)). He contended that his flight did not

give officers probable cause to arrest him under Wis. Stat. §946.41, asserting

that because the officers lacked reasonable suspicion to conduct the initial

Terry stop, they were not “acting within lawful authority” as required by the

statute. Id. at 11. The defendant maintained that his “comments about how the

officers were frequently harassing him” showed that “he did not know the

officers were acting with lawful capacity.” Id.

      The defendant also argued that probable cause did not exist under the

totality of the circumstances. Id. He stressed that he did not resist or commit a

battery on a police officer, and argued that “Officers Cornejo and Campos could

not reasonably suspect [him] of a crime for abandoning a plastic bag.” Id. at 12.

Conceding that “hot pursuit of a fleeing felon, public safety, and the

destruction of evidence may each give rise to exigent circumstances,” id. at 12-

13 (citing Mason v. Godinez, 47 F.3d 852, 856 (7th Cir. 1995); United States v.

Hardy, 52 F.3d 147, 149 (7th Cir. 1995); United States v. Rivera, 825 F.2d 152,

156 (7th Cir. 1987)), the defendant stated that “the belief that exigent

circumstances exist must be objectively reasonable.” Id. at 13. He asserted that

“[h]ere, the officers had no valid reason to believe that [he] posed a threat to

public safety or that he would destroy evidence.” Id. “Finally,” he concluded,

“officers could not have relied on the gun that they found in the front yard”

because “[t]he gun was not part of the original arrest equation.” Id.




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      The government responded that because the defendant “ran from police

when they asked him to stop, there was no seizure, and the police did not need

reasonable suspicion to attempt to stop [the defendant].” Dkt. No. 41 at 5. It

asserted that even if police did need reasonable suspicion, they had it. Id. The

government argued that the defendant “fit the description of the suspect” by

sex, race, age and approximate location, and “seemed to be concealing a

firearm in his jacket pocket”—all of which corroborated the 911 call. Id. at 6. It

argued that under the totality of the circumstances, this corroboration “gave

the complaint sufficient indicia of reliability to do an investigatory stop of [the

defendant].” Id. (citing United States v. Smith, 697 F.3d 625, 632-33 (7th Cir.

2012); United States v. Lawshea, 461 F.3d 857, 859 (7th Cir. 2006); United

States v. Lenoir, 318 F.3d 725, 729 (7th Cir. 2003)). The government

maintained that although the lack of a seizure made it unnecessary, police had

specific and articulable facts to justify engaging the defendant. Id. at 7. In

addition to the profile, the government cited the defendant’s “scornful response

and flight.” Id. (citing United States v. Mays, 819 F.3d 951, 957 (7th Cir.

2016)).

      The government asserted that the police did not consider the defendant’s

flight alone, but rather, “were investigating a complaint about an attempted

armed robbery in the vicinity involving a firearm, and [the defendant] matched

the description of a person of interest.” Dkt. No. 41 at 8. The government

argued that “[f]urther observation that one of [his] hands was inside one of his

jacket pockets raised concerns that he could be concealing a firearm there.” Id.

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at 8-9. “These observations,” according to the government, constituted

“specific, articulable grounds—not suspicion, or a hunch—to further

investigate . . . and order[] [the defendant] to stop.” Id. at 9. According to the

government, officers also properly arrested the defendant for violating

Wisconsin and Milwaukee’s parallel obstruction laws, reasoning that (1) officers

acted within their official capacities when they investigated the armed robbery,

(2) during that investigation, officers “clearly told [the defendant] to stop,” and

(3) the defendant’s subsequent flight from police “was a knowing resistance or

obstruction” of that investigation. Id. at 9-10. (citing Wis. Stat. §946.41;

Milwaukee Code of Ordinances §105-138).

      Stating that the “[p]olice had cause for concern that [the defendant] could

be armed,” the government concluded that “[t]he post-arrest search of [the

defendant] was valid and reasonable.” Id. at 11 (citing United States v.

McPhaul, 835 F.3d 687, 690 (7th Cir. 2016)). “[The defendant’s] flight only

increased [] concern.” Id.

      In his reply brief, the defendant argued that the government based its

position “almost exclusively” on the fact that the defendant has his hands in

his jacket on a cold day in February in Wisconsin. Dkt. No. 44 at 2. He argued

that the tip was unverified. Id. at 2-3. He asserted that the information the

police had “did not comport with reality,” because the victim claimed to have

been robbed by two Black males (not one) and that the robbers fled eastbound

when the defendant was walking southbound, then west. Id. at 3. The

defendant also maintained that he could not have obstructed the officers

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because the stop was not a Terry stop; he stated that “[i]f law enforcement did

not intend to temporarily detain [him] to investigate potential criminal activity,

then there was nothing for [him] to obstruct.” Id. at 4.

        C.    Judge Duffin’s Recommendation

        Judge Duffin concluded that “even though the police were not able to

find the caller again, the tip was sufficiently corroborated to give the officers

reasonable suspicion to attempt a Terry stop.” Dkt. No. 45 at 8. Noting the

defendant’s argument that “he was not going in the direction that was reported

to police,” Judge Duffin determined that the defendant “was found in the same

geographic area, close in time to the reported armed robbery call,” and “easily

could have changed directions in the time between the call and when he was

first spotted by the officers.” Id. Judge Duffin noted that “the caller was not

anonymous, as [the defendant] suggests;” he explained that “[t]he caller gave a

name to the dispatcher and officers were able to corroborate his tip by finding

an individual in the area who matched the description by race, sex, clothing,

age, and suspicion of carrying a firearm.” Id. at 7-8. Agreeing that it was

“possible that [the defendant] had his hand in his pocket because it was

February in Milwaukee and not because he was concealing a gun,” Judge

Duffin found that “reasonable suspicion does not require negating innocent

explanations for the suspicious conduct.” Id. at 8 (citing Wardlow, 528 U.S. at

125).

        Next, Judge Duffin found that “Officers Cabral and Ojdana had probable

cause to arrest [the defendant] for obstruction.” Id. at 10. He concluded that (1)

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“[w]hen Officers Cornejo and Campos initially approached [the defendant], they

were acting in their official capacity, (2) “[a]sking [the defendant] to stop and

show his hands was lawful because they reasonably suspected him of

committing a crime and possessing a firearm, (3) “by fleeing after being ordered

to stop and show his hands, [the defendant] obstructed Officers Campos and

Cornejo from further investigating and questioning him” under Wis. Stat.

§946.41, and (4) “under the collective knowledge doctrine, when Officers Cabral

and Ojdana encountered [the defendant] after he fled, they had probable cause

to arrest him for obstruction.” Id. at 10-11 (citing Gonzalez v. City of Elgin, 578

F.3d 526, 537 (7th Cir. 2009)).

      Regarding the defendant’s argument that “Officers Cabral and Ojdana

arrested him ‘upon contact’ and without first completing a Terry stop,” Judge

Duffin concluded that “a Terry stop was no longer necessary because the

officers had probable cause that [the defendant] had committed obstruction;”

Judge Duffin found that “it [did] not matter that the original officers attempted

a Terry stop.” Id. at 11. Last, Judge Duffin ruled that “[b]ecause [the

defendant’s] arrest was valid, Officers Cabral and Ojdana were permitted to

conduct a search incident to arrest.” Id. at 11. (citing United States v.

Robinson, 414 U.S. 218, 235 (1973); United States v. Rodriguez, 995 F.2d 776,

778 (7th Cir. 1993)).

      Finding “no basis to suppress the seized evidence,” Judge Duffin

recommended that this court deny the defendant’s motion. Id. Judge Duffin




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also declined the defendant’s alternative request for an evidentiary hearing. Id.

at 1.

        E.    Objections

        The defendant timely objected, disputing only Judge Duffin’s conclusion

that reasonable suspicion supported the attempted Terry stop. Dkt. No. 46 at

1. He objects on four grounds.

        First, he contests Judge Duffin’s conclusion that the caller was not

anonymous, noting that (1) “[a]lthough the caller gave a name, [he] could not

be contacted after eleven attempts,” id. at 2; (2) the caller’s reputation could

not be adequately assessed, id.; (3) “[p]roviding an unverifiable name and being

unknown to the police has the effect of anonymity,” id., and (4) the caller

“[could not] be held responsible if the allegation turn[ed] out to be fabricated.”

Id. (citing dkt. no. 45 at 7).

        Second, he objects to Judge Duffin’s determination that “the tip was

corroborated simply by ‘finding an individual in the area who matched the

description by race, sex, clothing, age, and suspicion of carrying a firearm.’” Id.

(quoting dkt. no. 45 at 7-8). The defendant stresses that “while profiles may be

considered, the officers are required to articulate specific characteristics and

actions exhibited by the person to be detained which arouse the officer’s

attention,” and that in this case, they failed to do so. Id. at 3 (citing United

States v. Dennis, 115 F.3d 524, 532 (7th Cir. 1997)). He suggests that “officers

were forced to claim that because [the defendant] had his hands in his pocket,

he must be concealing a gun.” Id. at 3.

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      Third, he disagrees with Judge Duffin’s “position that this single tipster

gave enough information” for the officers to reliably conclude that the

defendant matched the “tipster’s” description. Id. “A tip is not reliable,” he

contends, “merely because its description of the suspect’s visible attributes

proves accurate; reasonable suspicion requires that a tip must be reliable in its

assertion of illegality.” Id. He adds that “having a mere suspicion that [the

defendant] was carrying a firearm was not adequate grounds for reasonable

suspicion.” Id. (citing Dennis, 115 F.3d at 532).

      Finally, the defendant challenges Judge Duffin’s conclusion that

“reasonable suspicion does not require negating innocent explanations for the

suspicious conduct,” arguing that Judge Duffin “failed to explain exactly what

‘suspicious conduct’ [the defendant] was engaging in.” Id. at 4 (quoting dkt. no.

45 at 8). He suggests that, as opposed to an armed robbery suspect who evades

responding police, or three individuals dropping a “baggie with white residue”

and scattering when an officer approaches, walking down the street is not

suspicious behavior. Id. at 4.

      The government responded that “obvious and highly articulable facts

gave police the requisite reasonable suspicion needed to stop [the defendant].”

Dkt. No. 47 at 3-4 (citing Quinn, 83 F.3d at 921). It disputes the defendant’s

argument that the complainant was “too anonymous,” arguing that although

“police could not contact the complainant after he left the call after [three]

minutes,” the caller still left a name. Id. at 4. Responding to the defendant’s

argument “that having his hands in his pockets in February was insufficient

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corroboration of illegality,” the government urges that “reasonable suspicion

does not require negating innocent explanations for the suspicious conduct,”

and asserts that under the totality of the circumstances, it was suspicious for

the defendant to have his hands in his pockets. Id. at 4-5 (citing Wardlow, 538

U.S. at 125).

III.   Analysis

       The Fourth Amendment permits “[a] limited intrusion into an individual’s

privacy . . . where the police have reasonable suspicion to believe criminal

activity is afoot.” United States v. Richmond, 924 F.3d 404, 411 (7th Cir. 2019)

(citing Terry v. Ohio, 392 U.S. 1, 30 (1968); Baskin, 401 F.3d at 791).

Reasonable suspicion requires more than a hunch but less than probable

cause and “considerably less than preponderance of the evidence.” Richmond,

924 F.3d at 411 (quoting Wardlow, 528 U.S. at 123). An officer has reasonable

suspicion when the officer can point to “specific and articulable facts which,

taken together with rational inferences from those facts reasonably warrant

that intrusion.” Baskin, 401 F.3d at 791 (quoting Terry, 302 U.S. at 21); see

also Richmond, 924 F.3d at 411.

       A court making a reasonable suspicion determination “must look at the

totality of the circumstances . . . to see whether the detaining officer has a

particularized and objective basis for suspecting legal wrongdoing.” Richmond,

924 F.3d at 411 (quoting United States v. Arvizu, 534 U.S. 266, 273 (2002)).

Examining the totality of the circumstances means that the court “must not be

overly focused on any one factor.” Id. (quoting United States v. Swift, 220 F.3d

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502, 506 (7th Cir. 2000)). “[B]ehavior which is susceptible to an innocent

explanation when isolated from its context may still give rise to reasonable

suspicion when considered in light of all the factors at play.” Id. at 412 (quoting

Baskin, 401 F.3d at 793). Reasonable suspicion depends on “the factual and

practical considerations of everyday life on which reasonable and prudent men,

not legal technicians, act.” Navarette v. California, 572 U.S. 393, 402 (2014)

(citing Ornelas v. United States, 517 U.S. 690, 696 (1996)).

      A.     Anonymity

      The defendant first asserts that contrary to Judge Duffin’s report, the

911 caller was anonymous. An officer should not rely on a “bare report of an

unknown, unaccountable informant who neither explained how he knew about

[the reported criminal activity] nor supplied any basis for believing he had

inside information.” Florida v. J.L., 529 U.S. 266, 271 (2002). “[T]here are

situations,” however, “in which an anonymous tip, suitably corroborated,

exhibits sufficient indicia of reliability to provide reasonable suspicion to make

the investigatory stop.” Id. at 270. For an anonymous tip to support reasonable

suspicion, it must “be reliable in its assertion of illegality, not just in its

tendency to identify a determinate person.” Id. at 272. For an anonymous caller

to “necessarily claim[] eyewitness knowledge” of an alleged crime, for example,

“lends significant support to the tip’s reliability.” Navarette, 572 U.S. at 399

(citing Illinois v. Gates, 462 U.S. 213, 234 (1983)). An indication that a tip “was

contemporaneous with the observation of criminal activity or made under the

stress of excitement caused by a startling event . . . weigh[s] in favor of the

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caller’s veracity.” Id. at 400. A “caller’s use of the 911 emergency system,”

which records a variety of information about the caller, has the same effect. Id.

      As Judge Duffin noted, the caller was not anonymous. He gave a name—

Robert Terry. The fact that the 911 dispatcher could not confirm that identity

does not change that fact. In arguing that the police could not verify Mr. Terry’s

credibility, the defendant ignores the facts that he sounded distressed to the

911 dispatcher and that he was not reporting events unrelated to him—he was

reporting that he had just been a victim of a crime. The caller was not an

anonymous tipster, “ratting out” an identified individual. He simply said that

he’d just been robbed by two men and he described them. He “necessarily

claimed eyewitness knowledge” of an alleged crime contemporaneous to that

alleged crime through the use of the 911 emergency system. Navarette, 572

U.S. at 399-400. Under Navarette, even if the call had been anonymous, that

fact alone would not preclude a finding of reasonable suspicion.

      B.    Corroboration and Specific and Articulable Facts

      The defendant argues that it was insufficient for the officers to

corroborate the tip “simply by ‘finding an individual in the area who matched

the description by race, sex, clothing, age, and suspicion of carrying a firearm’”

because “while profiles may be considered, the officers are still required to

articulate specific characteristics and actions exhibited by the person to be

detained which arouse the officer’s attention.” Dkt. No. 45 at 3 (citing Dkt. No.

45 at 7-8; Dennis, 115 F.3d at 532). He contends that “[n]o articulable facts

existed to engage in a Terry stop with [the defendant].” Id. This simply is not

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the case. The 911 call provided police with specific and articulable facts for the

Terry stop.

      If the defendant means to argue that the officers should have

investigated the caller’s allegations without stopping the defendant, that

argument lacks merit. “A 911 system designed to provide an emergency

response to telephonic tips could not operate if the police had to verify the

identity of all callers and test their claim to have seen crimes in progress.”

United States v. Wooden, 551 F.3d 647, 650 (7th Cir. 2008). “[A] need for

dispatch can make reasonable a stop that would not be reasonable if the police

had time to investigate at leisure.” Id. When analyzing the reasonableness of

the stop, the reviewing court considers whether the caller provided a basis for

knowing about the crime. Id. The dangerousness of the alleged crime is also a

factor in this reasonableness analysis. United States v. Burgess, 759 F.3d 708,

710 (7th Cir. 2014) (citing United States v. Goodwin, 449 F.3d 766, 769

(2006)).

      Here, the caller stated that he personally had been the victim of an

armed robbery involving a firearm. Not only did the caller allege illegal activity,

but the alleged activity gave rise to the reasonable inference that the suspects

posed an imminent danger. The responding officers could not take the time to

investigate at leisure. Under the totality of the circumstances, the information

in the 911 call combined with the officers’ observations provided specific and

articulable facts for the attempted Terry stop.




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      C.    Reliability

      As noted, the defendant characterizes the 911 call as a “tip,” arguing that

it was not sufficiently reliable. Dkt. No. 46 at 3. He states that “[h]aving a mere

suspicion that [the defendant] was carrying a firearm was not adequate

grounds for reasonable suspicion.” Id.

      While some tips provide “more general descriptions than [is] ideal,” “a

lack of better, more detailed descriptions does not mean that officers must

disregard the limited information they have.” United States v. Street, 917 F.3d

586, 594 (7th Cir. 2019) (citing United States v. Foster, 891 F.3d 93, 104-06

(3d Cir. 2018); United States v. Arthur, 764 F.3d 92, 97–98 (1st Cir. 2014);

United States v. Turner, 699 A.2d 1125, 1128-30 (D.C. 1997)). Although

“officers are not permitted to stop a person based solely on his race and sex,”

the Seventh Circuit does not expect officers to “ignore such defining features.”

Id. (citing United States v. Morrison, 254 F.3d 679, 682 (7th Cir. 2001)). It is

reasonable to initiate a Terry stop based on “limited physical descriptions of []

suspects” of a crime when coupled with “timing, location, and reliable

information about the suspects’ movements.” Id. at 595.

      Officers Campos and Cornejo responded within four minutes to a report

of an armed robbery, and observed the defendant within six minutes. Dkt. No.

45 at 2. The report, describing “two black men in their twenties, [] one of them

wearing a red jacket and having a gun,” id., was general, but the lack of more

detail did not mean that Officers Campos and Cornejo had to ignore what

information they had. The defendant fit the description, and police observed

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him near the place and time of the reported robbery with his hand in his

pocket. Id. at 2-3. It was reasonable for the officers to consider that an armed

robbery suspect with his hand in his pocket may have been concealing a

firearm. The officers did not attempt the Terry stop based on a mere hunch,

but on the information from the 911 call combined with the fact that they

found a person matching the general description of one of the alleged robbers

in the area where the robbery was alleged to have occurred minutes after it was

alleged to have occurred. Under the totality of the circumstances, this

information was sufficiently reliable for the purposes of reasonable suspicion.

      D.    Suspicious Conduct

      The defendant argues that Judge Duffin “failed to explain exactly what

‘suspicious conduct’ [the defendant] was engaging in.” Dkt. No. 46 at 4. He

argues—and Judge Duffin agreed—that cold weather could explain why his

hand was in his pocket. But the United States Supreme Court has

“consistently recognized that reasonable suspicion ‘need not rule out the

possibility of innocent conduct.’” Navarette, 572 U.S. at 403 (citing Arvizu, 534

U.S. at 277).

      The court already has concluded that under the totality of the

circumstances, the officers had reasonable suspicion to stop the defendant.

The fact that the police were not able to contact the complainant after the fact

may be ambiguous. “But ‘[t]he need to resolve ambiguous factual situations—

ambiguous because the observed conduct could be either lawful or unlawful—

is a core reason the Constitution permits investigative stops.’” Richmond, 924

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F.3d at 413 (quoting United States v. Miranda-Sotolongo, 827 F.3d 663, 669

(7th Cir. 2016)). “Because the aggregate facts support a particularized and

objective basis for the officers to suspect [the defendant] was engaged in

criminal activity, their suspicions were reasonable within the meaning of the

Fourth Amendment.” Id.

      Judge Duffin did not commit clear error in concluding that the officers

had reasonable suspicion to conduct the Terry stop. The court overrules the

defendant’s objections and adopts Judge Duffin’s recommendation in its

entirety.

IV.   Conclusion

      The court OVERRULES the defendant’s objections to Judge Duffin’s

recommendation. Dkt. No. 46.

      The court ADOPTS Judge Duffin’s recommendation. Dkt. No. 45.

      The court DENIES the defendant’s motion to suppress evidence from the

search and seizure. Dkt. No. 39.

      Dated in Milwaukee, Wisconsin this 2nd day of October, 2020.

                                     BY THE COURT:


                                     _____________________________________
                                     HON. PAMELA PEPPER
                                     Chief United States District Judge




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